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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


FINANCIAL TECHNOLOGY
PARTNERS LP AND FTP
SECURITIES LLC,

             Plaintiffs,
                                              Case No. 24 Civ. 4717 (VM)
v.

CIRCLE INTERNET FINANCIAL
LIMITED,

             Defendant.


                    ANSWER TO AMENDED COMPLAINT

      Defendant    Circle   Internet   Financial   Limited    (“Circle”),   through   its

undersigned counsel, hereby responds to Plaintiff Financial Technology Partners

LP’s and FTP Securities’ (together, “FT”) First Amended Complaint (“Amended

Complaint”) as follows, using numbered paragraphs corresponding to the numbered

paragraphs in the Amended Complaint.

      Unless expressly stated otherwise, Circle denies every allegation in the

Amended Complaint, including any allegations in the preamble, unnumbered and

numbered paragraphs, titles, and footnotes,1 and specifically denies any liability to

FT. Circle reserves the right to seek to amend or supplement this Answer.




1 The headings and subheadings used in the Amended Complaint appear to be a guide

to organizing FT’s allegations, rather than including allegations. To the extent that
a response is required to these headings and subheadings, Circle denies any
allegations in those headings or subheadings except to admit that FT has asserted
the claims described therein.
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                  RESPONSES TO SPECIFIC ALLEGATIONS

                                  NATURE OF ACTION

      1.     Circle denies the allegations in this paragraph, except Circle admits that

(i) the Amended Complaint included a claim for declaratory judgment, which the

Court has since dismissed; and (ii) FT seeks alleged damages for “fees, expenses,

interest, and attorney’s fees.”

      2.     Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of Circle Acquisition Public Limited Company’s

(also known as Circle Internet Finance Public Limited Company and referred to in

this Answer under either name as “Topco”) August 6, 2021, Form S-4 (“August 6, 2021

Form S-4”), which was publicly available, including to Circle’s stockholders; and (ii) in

2019, Circle was unable to raise capital under terms that were acceptable to Circle,

and three investment banks had been involved in those efforts.

      3.     Circle denies the allegations this paragraph, except Circle admits that

(i) it reached out to FT and Steve McLaughlin (FT’s founder and CEO); (ii) FT is an

investment banking firm that holds itself out as “focused exclusively on the financial

technology sector”; and (iii) Circle retained FT as a financial and strategic advisor

under the terms of the July 1, 2020, engagement letter (“Circle Agreement”) and

September 19, 2020, engagement letter (“SeedInvest Agreement,” and together with

the Circle Agreement, the “Agreements”2).




2 Capitalized terms not otherwise defined in this Answer have the meaning as set

forth in the Circle Agreement or SeedInvest Agreement, as may be relevant.
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      4.     Circle denies the allegations in this paragraph, except Circle admits that

(i) FT agreed to act as Circle’s advisor per the terms of the Circle Agreement (and

later the SeedInvest Agreement); and (ii) a Capital Raise and Company Sale were not

certain at the time the Circle Agreement was executed.

      5.     Admitted.

      6.     Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement sets forth the Transaction Fees the parties agreed to and how

those fees were to be calculated.

      7.     Circle denies the allegations in this paragraph, except Circle admits that

(i) the Circle Agreement sets forth when FT could potentially earn, and how to

calculate, a Transaction Fee for a Capital Raise; and (ii) this paragraph quotes a

portion of the Circle Agreement.

      8.     Circle denies the allegations in this paragraph, except Circle admits that

(i) the parties negotiated (and the Circle Agreement sets forth) when FT could

potentially earn, and how to calculate, a Transaction Fee for a Company Sale; and

(ii) this paragraph quotes portions of the Circle Agreement.

      9.     Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of the Circle Agreement; and (ii) the Circle

Agreement sets forth when FT could potentially earn a Transaction Fee for a Capital

Raise or Company Sale.

      10.    Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of the Circle Agreement; and (ii) the Circle



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Agreement sets forth circumstances under which FT could potentially earn a fee for

an alternative transaction.

      11.    Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes portions of the Circle Agreement, except that “transaction”

should be capitalized; and (ii) Circle had the right to approve any FT announcement,

per the Circle Agreement, in advance.

      12.    Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement describes circumstances in which the Circle Agreement would

terminate, including the consummation of a Company Sale or if Circle terminated the

agreement in accordance with Section 6.

      13.    Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes portions of a May 2020 email thread involving Mr. Allaire and

Mr. McLaughlin.

      14.    Denied.

      15.    Circle denies the allegations in this paragraph, except Circle admits that

(i) it obtained a $25 million loan in July 2020 (“2020 Loan”) and paid FT a fee for that

transaction; (ii) it raised approximately $451 million in funding through the issuance

of convertible notes between March 2021 and July 2021 (“Convertible Note

Financing”), of which approximately $440 million had been raised by May 2021; and

(iii) FT assisted in aspects of the Convertible Note Financing and Circle paid FT a

Capital Raise fee for the same.

      16.    Denied.



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      17.    Circle denies the allegations in this paragraph, except Circle admits that

(i) FT and Circle entered the SeedInvest Agreement on September 19, 2020; (ii) the

SeedInvest Agreement sets forth the terms of the parties’ agreement related to the

services FT would provide thereunder; and (iii) certain terms of the SeedInvest

Agreement are similar or identical to terms in the Circle Agreement.

      18.    Circle denies the allegations in this paragraph, except Circle admits that

(i) the SeedInvest Agreement sets forth when FT could potentially earn, and how to

calculate, a Transaction Fee for an SI Sale; and (ii) this paragraph quotes portions of

the SeedInvest Agreement.

      19.    Circle denies the allegations in paragraph 19, except Circle admits that

it received an offer for SeedInvest in March 2021.

      20.    Circle denies the allegations in this paragraph, except (i) Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegation

that Concord Acquisition Corp. (“Concord”) was “unknown to Circle and vice versa”;

(ii) Circle admits that Concord was a party known to FT at least as of January 2021;

(iii) Circle admits that Circle and Concord (a Special Purpose Acquisition Company

(“SPAC”)) signed a non-binding term sheet on March 6, 2021 (“2021 Term Sheet”),

reflecting terms of a contemplated transaction between Circle and Concord,3 and FT

assisted Circle in the negotiation of the 2021 Term Sheet; and (iv) Circle lacks



3 In this Answer, “Concord transaction” refers to the proposed transaction
contemplated by the 2021 Term Sheet, the July 7, 2021 Business Combination
Agreement (“2021 BCA”), and February 16, 2022 Transaction Agreement (“2022
Transaction Agreement”), as may be relevant depending on the particular time
period.
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sufficient knowledge or information to form a belief about the truth of the allegations

in the last sentence of this paragraph.

      21.    Circle denies the allegations in this paragraph, except Circle admits that

(i) the 2021 BCA, dated July 7, 2021, among Circle, Concord, and other entities, sets

forth the terms of the Concord transaction; and (ii) Topco was a holding company

formed for the proposed Concord transaction.

      22.    Circle denies the allegations in this paragraph, except Circle admits that

(i) on February 16, 2022, Circle, Concord, and other entities signed the 2022

Transaction Agreement; and (ii) the 2021 BCA valued Circle at approximately $4.5

billion, the 2022 Transaction Agreement valued Circle at approximately $9 billion,

and each agreement contemplated potential earnout payments to Circle’s then-

existing shareholders.

      23.    Denied.

      24.    Denied.

      25.    Circle denies the allegations in this paragraph, except (i) Circle admits

that because the Concord transaction was not a Company Sale under the Circle

Agreement, it told FT that Circle would not owe FT a Company Sale Transaction Fee

on the Concord transaction; and (ii) Circle lacks sufficient knowledge or information

to form a belief about the truth of the allegation that Circle’s outside counsel “worked

for another client-company that had paid FT Partners a Company Sale fee after a de-

SPAC transaction under a similar agreement.”




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      26.    Circle denies the allegations in this paragraph, except Circle admits that

(i) Circle demanded that Mr. McLaughlin (FT’s CEO, managing partner, and founder)

“be immediately removed from the FT working team” in April 2021, including because

of his conduct exhibiting a “conflict of interest materially detrimental to” Circle;

(ii) Circle informed FT that FT’s demanded Company Sale fee for the Concord

transaction threatened Circles’ ability to consummate the Concord transaction; and

(iii) Circle entered the 2021 BCA on July 7, 2021, which valued Circle at

approximately $4.5 billion, and the 2022 Transaction Agreement on February 16,

2022, which valued Circle at approximately $9 billion.

      27.    Denied.

      28.    Circle denies the allegations in this paragraph, except Circle admits that

(i) FT demanded that Circle pay a Company Sale fee for the Concord transaction and

proposed “accepting part or all of it in stock, deferring part of the payment, or

restructuring the payment”; (ii) FT took the position that if the Concord transaction

“constitutes an ‘alternative transaction,’” then Circle “would still owe FT Partners

Transaction Fees upon any future Company Sale or Capital Raise (of which there

could be numerous, even post the Transaction),” which position Circle did not accept;

and (iii) an alternative transaction fee on the Concord transaction would have been

substantially less than the Company Sale fee that FT demanded.

      29.    Denied.

      30.    Circle denies the allegations in this paragraph, except Circle admits that

(i) on April 12, 2022, it announced it had entered into an agreement for an



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approximately “$400M funding round” (“Series F Fundraising”); and (ii) on April 8,

2022, Mr. Allaire (Circle’s CEO) sent FT a letter terminating the Circle Agreement

and informing FT of the Good Reasons for termination, as determined in good faith

by Circle’s Board of Directors, as well as the Board’s determination that “these

matters have not been and cannot be cured.”

      31.     Denied.

      32.     Circle denies the allegations in this paragraph, except Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegation

that FT was “conflict[ed] . . . out of other potentially lucrative client relationships.”

      33.     Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that (i) it terminated the Circle Agreement on April 8,

2022 and announced the Series F Fundraising on April 12, 2022; (ii) the Series F

Fundraising was an approximately $400 million funding round; and (iii) Topco’s July

11, 2022, Form S-4, disclosed that “[o]n May 9, 2022, Circle completed its Series F

financing.”

      34.     Denied.

      35.     Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of the Circle Agreement; (ii) on August 19, 2022,

FT sent Circle an invoice dated August 16, 2022 demanding a $28.07 million fee for

the Series F Fundraising; and (iii) Circle has not paid FT the $28.07 million fee FT

demanded.




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      36.    Circle denies the allegations in this paragraph, except Circle admits that

it sent FT a letter on August 26, 2022, terminating the SeedInvest Agreement and

informing FT of the Good Reasons for termination, as determined in good faith by

Circle’s Board of Directors, as well as the Board’s determination that “these matters

have not been and cannot be cured.”

      37.    Circle denies the allegations in this paragraph, except Circle admits that

(i) the August 26, 2022 letter informed FT of the Good Reasons for termination, as

determined in good faith by Circle’s Board of Directors, as well as the Board’s

determination that “these matters have not been and cannot be cured”; and (ii) Mr.

McLaughlin and Mr. Little provided services to Circle prior to Circle’s April 2021

letters limiting FT’s work.

      38.    Denied.

      39.    Circle denies the allegations in this paragraph, except Circle admits

(i) the allegations in the first sentence of this paragraph; and (ii) the Asset Purchase

Agreement sets forth the terms of the SeedInvest transaction.

      40.    Circle denies the allegations in this paragraph, except Circle admits that

(i) it entered a non-disclosure agreement with StartEngine on August 17, 2022; (ii) it

terminated the SeedInvest Agreement on August 26, 2022; (iii) the Asset Purchase

Agreement was executed on October 24, 2022; and (iv) its August 26, 2022,

termination letter does not mention the SeedInvest transaction.




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      41.      Circle denies the allegations in this paragraph, except Circle admits

(i) the first sentence of this paragraph; and (ii) that FT was never owed, and is not

owed, a Company Sale fee for the Concord transaction.

      42.      Circle denies the allegations in this paragraph, except Circle admits that

(i) on November 17, 2023, FT sent Circle an invoice dated November 16, 2023,

demanding that Circle pay FT a “Transaction Fee” and certain expenses for the

SeedInvest transaction; and (ii) Circle has not paid FT the amounts FT demanded in

the invoice.

      43.      Circle denies the allegations in this paragraph, except Circle admits that

(i) in August of 2023, Circle issued 3.5% of its fully diluted equity to Coinbase Global,

Inc. (“Coinbase”), which Coinbase gave an estimated fair value of $51.1 million

according to its 10-Q; and (ii) on November 17, 2023, FT sent Circle an invoice dated

November 16, 2023, demanding that Circle pay a “Capital Raise” fee and expenses

for this transaction.

      44.      Circle denies the allegations in this paragraph, except Circle admits that

(i) in February 2021, Circle raised the question of what fee FT would be paid for its

work on the Concord transaction because the transaction was neither a Company

Sale nor a Capital Raise; and (ii) on March 4, 2021—after FT had demanded a

Company Sale fee for the Concord transaction and prior to the execution of the 2021

Term Sheet—in the interest of compromise, Circle proposed to pay FT a transaction

fee that was less than the Company Sale fee FT demanded but much more than what




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Circle believed a fee consistent with “custom and practice among investment bankers

in similar size and type of transactions” would be.

      45.    Circle denies the allegations in this paragraph, including that FT is

entitled to any relief, except Circle admits that (i) FT sought a declaratory judgment

“that the Circle Agreement is still in full force and effect,” which claim the Court has

dismissed; (ii) FT seeks “specific performance” of certain alleged obligations under

Sections 7 and 9 of the Circle Agreement and Section 7 of the SeedInvest Agreement;

and (iii) FT asserted claims against defendants other than Circle, who the Court has

dismissed from this case.

      46.    Denied.

                                   THE PARTIES

      47.    Circle admits the allegations in the first and last sentences of this

paragraph and admits the allegations in the second sentence of this paragraph based

on information FT filed with the Court. Circle lacks sufficient knowledge or

information to form a belief about the truth of the allegations in the third sentence of

this paragraph.

      48.    Admitted, based on information FT filed with the Court.

      49.    Circle admits that Steven J. McLaughlin is a Florida domiciliary and

citizen and admits the remaining allegations in this paragraph based on information

FT filed with the Court.

      50.    Admitted, based on information FT filed with the Court.

      51.    Admitted, based on information FT filed with the Court.



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       52.    Circle admits the allegations in the first two sentences of this paragraph

and admits the remaining allegations in this paragraph based on information FT filed

with the Court.

       53.    Circle denies the allegations in this paragraph, except Circle admits

(i) the first and fourth sentences of this paragraph; (ii) Circle is the indirect parent of

the company that developed USDC, a dollar-denominated stablecoin; (iii) that this

paragraph quotes a portion of Topco’s August 6, 2021 Form S-4; and (iv) that as of

July 1, 2024, Circle became a wholly owned subsidiary of Circle Internet Group, Inc.

(“CIGI”), a Delaware corporation.

       54.    The allegations in this paragraph are directed at another, now-

dismissed party, and therefore no response is required.

       55.    The allegations in this paragraph are directed at another, now-

dismissed party, and therefore no response is required.

       56.    The allegations in this paragraph are directed at another, now-

dismissed party, and therefore no response is required.

       57.    The allegations in this paragraph are directed at another, now-

dismissed party, and therefore no response is required.

                           JURISDICTION AND VENUE

       58.    Circle admits the allegations in this paragraph, except that Circle

agreed to submit to jurisdiction of the courts in New York County, not anywhere in

New York.

       59.    Circle admits the allegations in this paragraph that concern Circle,

except that Circle agreed to submit to jurisdiction of the courts in New York County,
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not anywhere in New York. The allegations in this paragraph that concern the other

“Defendants” are directed at other, now-dismissed parties, and therefore no response

is required.

         60.   The allegations in this paragraph are directed at other, now-dismissed

parties and, therefore no response is required.

         61.   Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement has a New York choice-of-law clause and lacks sufficient

knowledge or information to form a belief about whether FT is “based in part in New

York.”

         62.   Circle denies the allegations in this paragraph, except (i) Circle admits

that the SeedInvest Agreement has a New York choice-of-law clause; (ii) Circle lacks

sufficient knowledge or information to form a belief about whether FT is “based in

part in New York”; and (iii) the allegations in this paragraph that concern the other

“Defendants” are directed at other, now-dismissed parties, and therefore no response

is required.

         63.   The allegations in this paragraph that concern the other “Defendants”

are directed at other, now-dismissed parties, and therefore no response is required.

Circle lacks sufficient knowledge or information to form a belief about the remainder

of the allegations in this paragraph.

         64.   Circle denies the allegations in this paragraph, except (i) Circle admits

that venue is proper in the United States District Court for the Southern District of

New York; (ii) Circle admits that, before Circle properly removed the case to the



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United States District Court for the Southern District of New York, venue was proper

in New York Supreme Court in New York County; and (iii) the allegations in this

paragraph that concern the other “Defendants” are directed at other, now-dismissed

parties, and therefore no response is required.

      65.    Admitted.

      66.    Denied.

                                       FACTS

      67.    Circle denies the allegations in this paragraph, except Circle admits that

(i) on May 15, 2020, Jeremy Allaire, Circle’s co-founder and CEO, contacted Steve

McLaughlin, FT’s founder, managing partner, and CEO, about providing financial

advisory services for a potential company sale or private capital raise; (ii) Circle

admits that FT is an investment banking firm that holds itself out as “focused

exclusively on the financial technology sector”; (iii) FT holds itself out as being

founded more than 20 years ago; (iv) FT told Circle in May 2020 that it had “advis[ed]

on multi-billion-dollar transactions”; (v) FT asserts on its website the allegations in

the fourth sentence in this paragraph; and (vi) FT announced that it had advised on

a $1.7 billion “SPAC Business Combination” that was completed on June 10, 2020,

and lacks sufficient knowledge or information to form a belief about the truth of the

remainder of the allegations in the last sentence of this paragraph.

      68.    Circle denies the allegations in this paragraph, except Circle admits that

in 2019 it was unable to raise capital under offer terms acceptable to Circle and that

this process had included the involvement of Barclays, Nomura, and China

International Capital Corporation.
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      69.    Admitted.

      70.    Denied.

      71.    Denied.

      72.    Circle denies that it was a “risky prospect[].” Circle lacks sufficient

knowledge or information to form a belief about the truth of the remainder of the

allegations in this paragraph.

      73.    Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of a May 24, 2020, email from Mr. McLaughlin to Mr.

Allaire.

      74.    Circle denies the allegations in this paragraph, except (i) Circle admits

that a portion of a May 2020 email thread involving Mr. Allaire and Mr. McLaughlin

contains the quoted words in the fourth and fifth sentences; and (ii) Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegations

in the last two sentences of this paragraph.

      75.    Circle denies the allegations in this paragraph, except Circle admits that

(i) on July 1, 2020, Circle and FT signed the Circle Agreement, which is attached to

the Amended Complaint as Exhibit A, and which sets forth the terms of the parties’

agreement; and (ii) this paragraph quotes portions of the Circle Agreement.

      76.    Admitted.

      77.    Admitted.

      78.    Circle denies the allegations in the introduction to this paragraph,

except Circle admits that FT assumed a “close” position of trust and confidence to



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Circle upon entering the Circle Agreement. Circle denies the allegations in

subparagraphs 78(a), 78(b), 78(c), 78(e), 78(h), and 78(i), except (i) Circle admits that

certain of those subparagraphs quote portions of the Circle Agreement; and (ii) Circle

lacks sufficient knowledge or information to form a belief about the truth of the

allegation that alleged “publicity rights . . . are of critical value to a company like FT

Partners that relies on its reputation to engage future clients.” Circle denies the

allegations in subparagraph 78(d), except Circle admits (i) that Section 2, as well as

other terms of the Circle Agreement, describe the fees that FT could potentially earn

under the Circle Agreement; and (ii) Circle intended the Circle Agreement’s fee

structure to incentivize FT to act in Circle’s best interests. Circle denies the

allegations of subparagraph 78(f), except Circle admits that Section 6 of the Circle

Agreement sets forth certain circumstances under which Circle had the right to

terminate the Circle Agreement. Circle denies the allegations in subparagraph 78(g),

except Circle admits (i) that subparagraph 78(g) quotes a portion of the Circle

Agreement; and (ii) that Section 6 of the Circle Agreement describes what fees, if any,

FT could potentially earn after termination. Circle admits the allegations in

subparagraph 78(j) but denies that the quoted language is complete.

      79.    Denied.

      80.    Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement sets forth when FT could potentially earn fees and potentially

be reimbursed for expenses under the Circle Agreement.

      81.    Admitted.



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      82.    Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement sets forth when FT could potentially earn, and how to calculate,

a Transaction Fee for a Capital Raise or Company Sale, and that FT had the potential

to earn substantial fees under the Agreement in certain circumstances.

      83.    Admitted.

      84.    Admitted.

      85.    Circle admits that Annex B to the Circle Agreement defines Capital

Raise, a portion of which definition this paragraph quotes but denies that this

paragraph sets forth the complete definition of Capital Raise.

      86.    Admitted.

      87.    Circle denies the allegations in this paragraph, except Circle admits that

it negotiated the Circle Agreement with the assistance of experienced counsel at

Goodwin Proctor, and it is “a company managed and overseen by sophisticated

directors and officers.”

      88.    Admitted.

      89.    Circle admits that this paragraph quotes a portion of Section 2(b)(ii) of

the Circle Agreement.

      90.    Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that (i) the footnote in this paragraph quotes a portion

of Topco’s August 31, 2022 S-4; (ii) this paragraph quotes a portion of the Circle

Agreement, except that “transaction” in romanette (i) is capitalized in the Circle




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Agreement; and (iii) the Circle Agreement sets forth what fees, if any, Circle might

owe FT, including when interest would accrue and how such a fee would be paid.

      91.    Circle denies the allegations in this paragraph, except it admits that the

Circle Agreement describes an “alternative transaction” as a transaction that Circle

completes in lieu of a Capital Raise or Company Sale.

      92.    Circle denies the allegations in this paragraph, except it admits that this

paragraph quotes Section 2(d) of the Circle Agreement.

      93.    Denied.

      94.    Circle denies the allegations in this paragraph, except Circle admits that

(i) the Circle Agreement sets forth circumstances under which FT could potentially

be reimbursed for expenses; and (ii) this paragraph quotes a portion of Section 3 of

the Circle Agreement.

      95.    Circle admits this paragraph quotes a portion of Section 10 of the Circle

Agreement.

      96.    Circle denies the allegations in this paragraph, except it admits that this

paragraph quotes a portion of the Circle Agreement.

      97.    Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of the Circle Agreement, with emphasis added by

the Amended Complaint; and (ii) the Circle Agreement sets forth when FT could

potentially earn a Transaction Fee.

      98.    Circle denies the allegations in this paragraph, except Circle admits that

(i) Section 6 of the Circle Agreement sets out circumstances under which Circle had



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the right to terminate the Circle Agreement; and (ii) this paragraph quotes a portion

of Section 6 of the Circle Agreement.

      99.    Denied.

      100.   Denied.

      101.   Admitted.

      102.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in this paragraph.

      103.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

      104.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes portions of the Circle Agreement.

      105.   Denied.

      106.   Circle denies the allegations in this paragraph, except Circle admits that

(i) Circle and its Board were aware of the terms of the Circle Agreement and

understood that FT could potentially earn substantial fees under the agreement;

(ii) the Circle Agreement sets forth when FT could potentially earn, and how to

calculate, a Transaction Fee for a Company Sale; and (iii) the Circle Agreement

describes circumstances in which the Circle Agreement would terminate, including

upon the consummation of a Company Sale or Circle’s termination of the Agreement

in accordance with Section 6.

      107.   Circle denies the allegations in this paragraph, except it admits that FT

began work prior to the execution of the Circle Agreement on July 1, 2020.



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      108.   Denied.

      109.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits (i) that Circle paid FT a fee for both the 2020 Loan and

Convertible Note Financing, that no further amount is owed on either transaction,

and that FT admits that Circle did not breach the Circle Agreement for the 2020 Loan

and the Transaction Fee for the Convertible Note Financing; (ii) that as to the 2020

Loan, Circle obtained $25 million in July 2020; (iii) that as to the Convertible Note

Financing, Circle raised approximately $451 million between March 2021 and July

2021, of which approximately $440 million had been raised by May 2021, FT assisted

in aspects of the Convertible Note Financing, which was a Capital Raise under the

Circle Agreement; (iv) the allegations in the second sentence of this paragraph; and

(v) that the fourth and fifth sentences of this paragraph, respectively, quote portions

of a March 2021 email from Mr. Allaire and Circle’s December 31, 2020 and 2019

Consolidated Financial Statements.

      110.   Circle denies the allegations in this paragraph, except Circle admits that

(i) Circle and FT executed the SeedInvest Agreement on September 19, 2020, and the

Circle Agreement on July 1, 2020; (ii) FT agreed in the SeedInvest Agreement to act

as a “financial and strategic advisor in connection with a possible Transaction,” as

that term is defined in the SeedInvest Agreement; and (iii) certain terms of the

SeedInvest Agreement are similar or identical to terms in the Circle Agreement.

      111.   This paragraph does not contain any allegations to which a response is

required. To the extent that a response is required, Circle denies the allegations.



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      112.   Admitted.

      113.   Circle admits the allegations in this paragraph, except that it denies

that the quoted language from the Agreements is complete.

      114.   Denied.

      115.   Circle denies the allegations in this paragraph, except Circle admits that

(i) the parties negotiated the fee provisions in the Agreements; (ii) the Circle

Agreement sets forth how to calculate a Transaction Fee for a Company Sale and the

SeedInvest Agreement sets forth how to calculate a Transaction Fee for an SI Sale;

and (iii) this paragraph quotes portions of the SeedInvest Agreement.

      116.   Circle denies the allegations in this paragraph, except Circle admits that

(i) the Agreements set forth circumstances under which FT could potentially be

reimbursed for expenses; and (ii) this paragraph quotes a portion of each Agreement’s

respective Section 3.

      117.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of each Agreement’s respective Section 7.

      118.   Circle admits that this paragraph quotes a portion of each Agreement’s

respective Section 10.

      119.   Circle denies the allegations in this paragraph, except Circle admits that

like the Circle Agreement, the SeedInvest Agreement describes circumstances in

which the agreement would terminate, including the consummation of an SI Sale or

if Circle terminated the Agreement in accordance with Section 6.




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      120.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of Section 6 of the SeedInvest Agreement.

      121.   Admitted.

      122.   Denied.

      123.   Denied.

      124.   Admitted.

      125.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits (i) the first and third sentence of this paragraph; and

(ii) that a portion of a September 22, 2021 article at the link in the footnote contains

the words in quotes in the main body of this paragraph with emphasis added by the

Amended Complaint, and a portion of the June 13, 2022 letter at the link in the

footnote contains the words in quotes in the footnote of this paragraph.

      126.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in the second sentence of this paragraph.

      127.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of a January 2020 Forbes article.

      128.   Circle admits the allegations in the first sentence of this paragraph.

Circle admits that the second sentence of this paragraph quotes a portion of Concord’s

prospectus, with emphasis added by the Amended Complaint.




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      129.   Circle admits the first two sentences of this paragraph. Circle lacks

sufficient knowledge or information to form a belief about the remainder of this

paragraph.

      130.   Circle denies the allegations in this paragraph, except (i) Circle admits

that FT was unsuccessful in finding any buyer or investor in Circle in 2020; and

(ii) Circle lacks sufficient knowledge or information to form a belief about the truth

of the allegation that FT contacted “100+ firms” in 2020 and “none was willing to take

a lead investor role in a deal that would value Circle at even $300 million.”

      131.   Denied.

      132.   Circle denies the allegations in this paragraph, except Circle admits that

an FT employee sent Circle a “Process Update” presentation on January 15, 2021,

which references certain SPACs, including Concord, and that this paragraph quotes

a portion of that presentation.

      133.   Circle denies the allegations in this paragraph, except (i) Circle admits

that two SPACS (one of which was Concord) submitted term sheets to Circle for a

potential transaction; (ii) Circle admits that FT sent Circle materials identifying

approximately 30 SPACs, including the two that submitted term sheets, and that FT

was involved in outreach to those SPACs; and (iii) Circle lacks sufficient knowledge

or information to form a belief about the truth of the allegations in the second

sentence of this paragraph.

      134.   Denied.

      135.   Denied.



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      136.   Circle denies the allegations in this paragraph, except (i) Circle admits

the allegations in the first sentence of this paragraph; (ii) Circle admits that Concord

was a party known to FT at least as of January 2021; and (iii) Circle lacks sufficient

knowledge or information to form a belief about the truth of the allegation that

Concord was “fully unknown to Circle and vice versa.”

      137.   Circle denies the allegations in the first sentence of this paragraph,

except it lacks sufficient knowledge or information to form a belief about FT’s

“relationship” with certain Concord principals. Circle lacks sufficient knowledge or

information to form a belief about the truth of the remaining allegations in this

paragraph.

      138.   Circle admits that at Circle’s request, an FT Partners employee first

contacted Concord regarding Circle via an email dated January 22, 2021. Circle lacks

sufficient knowledge or information to form a belief about the truth of the remaining

allegations in this paragraph.

      139.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in this paragraph, except Circle admits that FT and

Concord had an introductory call to discuss Circle on January 28, 2021, after which

FT sent Concord a presentation about Circle.

      140.   Circle denies the allegations in the first sentence of this paragraph,

except Circle admits that on February 2, 2021, Circle, Concord, and possibly Mr.

Little from FT, joined a videoconference. Circle lacks sufficient knowledge or

information to form a belief about the second sentence of this paragraph.



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      141.   Circle denies the allegations in this paragraph, except Circle admits that

on February 10, 2021, Circle and Concord signed a non-disclosure agreement to

facilitate the sharing of information between the companies.

      142.   Circle denies the allegations in this paragraph, except Circle admits that

on February 28, 2021, FT provided a template term sheet to Concord that included

an earnout example.

      143.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in this paragraph.

      144.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in this paragraph.

      145.   Circle denies the allegations in this paragraph, except it admits that on

March 2, 2021, Concord sent Mr. Allaire and representatives of FT a draft term sheet

that proposed an equity valuation for Circle of approximately $4.5 billion, as well as

an earnout structure noted for further discussion.

      146.   Circle denies the allegations in this paragraph, except Circle admits that

(i) on March 3, 2021, Mr. McLaughlin emailed Circle proposed changes to the term

sheet; and (ii) this paragraph quotes a portion of a March 3, 2021, email from Mr.

Allaire.

      147.   Circle admits the allegations in this paragraph, except that it denies Mr.

Allaire “entrusted the deal to Mr. McLaughlin,” and denies that the paragraph

contains a complete portrayal of the events on May 5 and 6, 2021.




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      148.   Circle denies the allegations in the first and third sentences in this

paragraph. Circle lacks sufficient knowledge or information to form a belief about the

truth of the allegations in the second sentence of this paragraph.

      149.   Circle denies the allegations in this paragraph, except Circle admits that

the Term Sheet sets forth non-binding terms for the Concord transaction and FT was

involved in negotiating aspects of those terms.

      150.   Circle denies the allegations in this paragraph, except Circle admits that

(i) the Term Sheet sets forth non-binding terms for the Concord transaction, and FT

was involved in negotiating aspects of those terms; and (ii) this paragraph quotes a

portion of a March 6, 2021, email from Mr. Little.

      151.   Circle denies the allegations in this paragraph and accompanying

footnote, except (i) Circle admits that this paragraph quotes a portion of a March 6,

2021, email from Mr. Allaire; (ii) Circle admits that by March 4, 2021, the parties had

a fee dispute, with FT claiming it was entitled to an approximately $400 million

Company Sale fee for the Concord transaction, and Circle disputing FT’s entitlement

to such a fee; (iii) Circle admits that FT’s fee demand was based on the equity

valuation of Circle in connection with the Concord transaction, which increased from

approximately $4.5 billion to approximately $9 billion between 2021 and 2022; and

(iv) Circle lacks sufficient knowledge or information to form a belief about the truth

of the allegations about statements made during the March 4 videoconference.




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      152.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of a March 8, 2021, email from Mr. Helgeson of

Concord to Mr. Allaire.

      153.   Circle denies the allegations in this paragraph, except Circle admits that

FT and Circle entered the Circle Agreement on July 1, 2020 and the SeedInvest

Agreement on September 19, 2020, before negotiations with Concord began.

      154.   Circle admits that FT performed some work to help find a buyer for

SeedInvest. Circle lacks sufficient knowledge or information to form a belief about

the truth of the remaining allegations in this paragraph.

      155.   Circle denies the allegations in this paragraph, except (i) Circle admits

that it received an offer for SeedInvest in March 2021, and FT assisted in certain

discussions with that prospective buyer and others; and (ii) Circle lacks sufficient

knowledge or information to form a belief about the truth of the allegation that FT

“had an introduction call” with that potential buyer.

      156.   Circle denies the allegations in this paragraph, except it admits that

(i) it signed the 2021 Term Sheet on March 6, 2021; and (ii) on March 23, 2021,

Circle’s Board decided to reject an offer for SeedInvest and to retain SeedInvest for

the time.

      157.   Denied.

      158.   Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement sets forth when FT could potentially earn, and how to calculate,

a Transaction Fee for a Company Sale.



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      159.     Circle denies the allegations in this paragraph, except Circle admits that

(i) on or around February 12, 2021, Mr. Corker (a former employee of an indirect

subsidiary of Circle) and Mr. Little discussed the fee that should be paid to FT for its

work on the Concord transaction; (ii) Mr. McLaughlin and Mr. Allaire subsequently

discussed the same topic; (iii) Circle lacks sufficient knowledge or information to form

a belief about the truth of the allegations in the fourth sentence of this paragraph;

and (iv) Circle admits that FT did not send an invoice for a fee on the Concord

transaction.

      160.     Circle denies the allegations in this paragraph, except it admits that

(i) it signed the 2021 Term Sheet on March 6, 2021; and (ii) on March 4, 2021, in the

interest of compromise, Mr. Allaire sent Mr. McLaughlin an email that proposed a

transaction fee of $200 million “in aggregate value,” which was approximately half of

the Company Sale fee that FT demanded, but much more than what Circle believed

a fee consistent with “custom and practice among investment bankers in similar size

and type of transactions” would be; and (iii) FT rejected Circle’s proposal.

      161.     Denied.

      162.     Circle denies the allegations in this paragraph, except Circle admits that

the Circle Agreement sets forth three alternative definitions of Company Sale,

portions of which this paragraph quotes.

      163.     Circle denies the allegations in this paragraph, including insofar as they

purport to summarize or characterize communications from Circle to FT, except

(i) Circle admits that a March 10, 2021 letter from Circle to FT (“March 10 letter”),



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and later Circle communications, explained various reasons why the Concord

transaction would not qualify as a Company Sale under the Circle Agreement;

(ii) Circle admits that the third sentence of this paragraph quotes a portion of the

Company Sale definition in the Circle Agreement, with emphasis added by the

Amended Complaint; and (iii) Circle lacks sufficient knowledge or information to

form a belief about the truth of the allegations in the footnote in this paragraph,

except Circle admits that the footnote quotes a portion of a press release posted at

the listed URL.

      164.   Circle denies the allegations in this paragraph, including insofar as they

purport to summarize or characterize communications from Circle to FT, except

Circle admits that (i) the March 10 letter, and later Circle communications, explained

various reasons why the Concord transaction would not qualify as a Company Sale

under the Circle Agreement; (ii) the second sentence of this paragraph quotes a

portion of the Company Sale definition in the Circle Agreement; and (iii) had the

Concord transaction been consummated, Circle’s shareholders would continue to own

a substantial majority of Circle through Topco (originally named Circle Acquisition

Public Limited Company), which would have become the sole shareholder of Circle.

      165.   Circle denies the allegations in this paragraph, including insofar as they

purport to summarize or characterize communications from Circle to FT, except

Circle admits that in an April 1, 2021, letter, it explained that even if the Concord

transaction would be a Company Sale (which it would not), FT would “receive at most

the Minimum Fee of $4,000,000” because the Aggregate Consideration for the



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transaction would be $0, the fair market value of Topco’s shares the day before

Circle’s shareholders exchanged their shares in Circle for shares in Topco.

      166.   Circle denies the allegations in this paragraph, except Circle admits that

(i) this paragraph quotes a portion of Circle’s May 14, 2018, constitution (“2018

Constitution”); and (ii) Circle amended its constitution in May 2022 (“Amended

Constitution”).

      167.   Circle denies the allegations in this paragraph, except Circle admits that

Circle amended its constitution in May 2022, and among other things, the Amended

Constitution modified the definition of “Acquisition” by adding the words quoted in

this in paragraph.

      168.   Denied.

      169.   Circle denies the allegations in this paragraph, except Circle admits that

(i) Circle repeatedly informed FT that FT’s fee demand and related actions

threatened to derail the Concord transaction, which concerns FT dismissed;

(ii) Concord expressed its concerns about FT’s demanded fee in an April 16, 2021

letter, which includes the language quoted in the second sentence of this paragraph;

(iii) Circle forwarded a letter from Concord to FT on April 19, 2021, informing FT that

Concord’s letter confirmed Circle’s concerns that “FT’s actions are demonstrably

jeopardizing the proposed transactions”; and (iv) Concord expressed concern about

whether it would be able to obtain “commitments for the necessary PIPE,” which was

a closing condition under the 2021 Term Sheet.

      170.   Denied.



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      171.   Circle denies the allegations in this paragraph, except it admits that, as

further described in the August 6, 2021 Form S-4, certain of Circle’s existing

shareholders agreed to escrow 35.5 million Topco Ordinary Shares that they would

receive in the Concord transaction to serve as security in the event that a payment to

FT in connection with the Concord transaction exceeded $45 million.

      172.   Denied.

      173.   Circle denies the allegations in this paragraph, except it lacks sufficient

knowledge or information to form a belief about the truth of the allegations in the

first sentence of this paragraph regarding FT’s supposed motives or state of mind.

      174.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that (i) this paragraph quotes a portion of the Circle

Agreement; (ii) as a precondition to considering whether to “discuss treating the”

Concord transaction as an alternative transaction, FT demanded that Circle (and

other nonparties to the Circle Agreement) agree that the Circle Agreement would

remain in effect and bind Circle, Concord, Topco and other entities; and (iii) FT

offered to take a percentage of its demanded Company Sale fee in a “60%/40%

stock/cash split.”

      175.   Circle denies the allegations in this paragraph, including insofar as they

purport to summarize or characterize communications from Circle to FT, except it

admits that (i) this paragraph quotes a portion of the Circle Agreement; and (ii) Circle

disputed FT’s interpretation of the Circle Agreement’s termination provisions,

including with regard to the effect of an alternative transaction.



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      176.   Circle denies the allegations in this paragraph, except it admits (i) that

it obtained the 2020 Loan in July 2020 and paid FT a fee for that transaction; and

(ii) the Circle Agreement remained in effect following the 2020 Loan until Circle

terminated the Agreement in accordance with Section 6.

      177.   Circle denies the allegations in this paragraph, except Circle admits that

(i) by early 2022, it had begun efforts on the Series F Fundraising and such efforts

were not known to FT because FT was not involved in them; and (ii) the Series F

Fundraising was completed in May 2022.

      178.   Denied.

      179.   Denied.

      180.   Circle admits the allegations in the first sentence of this paragraph.

Circle lacks sufficient knowledge or information to form a belief about the allegations

in the second sentence, except it admits the “situation was not resolved” after the

March 14 meeting. Circle denies the allegations in the third sentence.

      181.   Circle denies the allegations in this paragraph, except Circle admits that

on April 8, 2021, Circle demanded that FT prohibit Mr. McLaughlin from contacting

third parties on Circle’s behalf and wall him off from all communications related to

the Circle engagement, including because Mr. McLaughlin’s actions harmed Circle

and materially breached the Circle Agreement.

      182.   Admitted.

      183.   Circle denies the allegations in this paragraph, except Circle (i) admits

that it never consummated the Concord transaction and FT did not send Circle a



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invoice for the Concord transaction; (ii) admits that FT has claimed to be “ready,

willing, and able to assist” Circle, including on the Concord transaction; and (iii) lacks

sufficient knowledge or information to form a belief about the truth of the allegation

on why FT “never even sent an invoice for any fee for the” Concord transaction.

      184.   Circle denies the allegations in the first sentence of this paragraph,

except it admits that on July 7, 2021, Circle, Concord, Topco, and Topco (Ireland)

Merger Sub, Inc. (“Topco Sub”), entered into the 2021 BCA. Circle denies the

allegations in the second sentence of this paragraph, except Circle admits that Topco

and Topco Sub were formed for the purpose of the Concord transaction and Topco Sub

was a wholly owned subsidiary of Topco. Circle admits the allegations in the third

sentence of this paragraph.

      185.   Circle denies the allegations in this paragraph and accompanying

footnote, except it admits that this paragraph quotes portions of the press release and

article posted at the listed URLs and that Goodwin Procter served as corporate

counsel to Circle on the Concord transaction.

      186.   Circle denies the allegations in this paragraph, except it admits that this

paragraph and Appendix 1 quote portions of the articles listed.

      187.   Circle denies the allegations in this paragraph, except Circle admits

(i) the allegations in the second sentence of this paragraph; (ii) Form S-4 is an SEC

form used, among other circumstances, in mergers and acquisitions; and (iii) the third

and fourth sentences of this paragraph quote a portion of Topco’s August 6, 2021

Form S-4 and Concord’s 2021 10-K, with emphasis added by the Amended Complaint.



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       188.   Circled denies the allegations in this paragraph, except it admits that

this paragraph quotes a portion of a Concord 10-Q signed on November 12, 2021, with

emphasis added by the Amended Complaint, and portions of the definition of

Company Sale under the Circle Agreement.

       189.   Circle denies the allegations in this paragraph except it admits that

Concord is a SPAC and that this paragraph quotes portions of an SEC document

posted at the listed URL.

       190.   Denied.

       191.   Circle admits that the Circle Agreement sets forth any rights and

obligations under the Agreement concerning press releases. Circle denies the

remainder of this paragraph.

       192.   Admitted.

       193.   Circle denies the allegations in this paragraph, except Circle admits that

(i) the Convertible Note Financing was a Capital Raise Transaction under the Circle

Agreement; (ii) this paragraph quotes portions of the Circle Agreement defining

Capital Raise and Transaction, with emphasis added by the Amended Complaint; and

(iii) Circle paid FT the appropriate Transaction Fee for the Convertible Note

Financing.

       194.   Circle denies the allegations in this paragraph and accompanying

footnotes, except it admits that this paragraph quotes a portion of a May 28, 2021,

article on Circle’s website and a portion of a May 28, 2021, article posted at the listed

URL.



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      195.   Circle denies the allegations in this paragraph and accompanying

footnote, except it admits that this paragraph quotes a portion of a July 8, 2021, joint

press release by Circle and Concord, which mentions Concord’s financial advisor as

well as other advisors in the transaction.

      196.   Circle denies the allegations in this paragraph and accompanying

footnote, except it admits that a Reuters article posted at the noted URL identifies

Cowen Inc. as Circle’s lead capital markets advisor.

      197.   Circle denies the allegations in the first sentence of this paragraph,

except Circle admits that on July 21, 2021, FT sent Circle a letter that demanded

that Circle issue a “corrective” press release for Circle’s alleged “breaches.” Circle

admits the allegations in the second sentence of this paragraph.

      198.   Admitted.

      199.   Circle denies the allegations in this paragraph, except Circle admits that

on July 21, 2021, FT sent Circle proposed press releases for the Convertible Note

Financing and Concord transaction.

      200.   Circle denies the allegations in this paragraph, except Circle admits that

(i) FT’s proposed press release contained a statement by Mr. Allaire that appeared in

Circle’s May 28, 2021, press release for the Convertible Note Financing, which Circle

distributed to the news media and which is still publicly available; and (ii) Circle

informed FT that it approved FT’s proposed transaction announcement for the

Convertible Note Financing, “subject to the removal of any statements purportedly

made by Jeremy Allaire or any other Circle representative.”



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      201.   Circle denies the allegations in this paragraph, including insofar as they

purport to summarize or characterize communications from Circle to FT, except

Circle admits that it did not approve FT’s proposed press release related to the

Concord transaction for the reasons stated in Circle’s July 28, 2021, letter, a portion

of which this paragraph quotes.

      202.   Denied.

      203.   Denied.

      204.   Circle denies the allegations in this paragraph, except it admits that this

paragraph quotes a portion of the Circle Agreement.

      205.   Circle denies the allegations in this paragraph, except it (i) lacks

sufficient knowledge or information to form a belief about the allegations regarding

“customary deal practice”; and (ii) admits that FT has repeatedly claimed it was

entitled to review “all drafts of the S-4 and business combination agreements in real

time” along with related documents.

      206.    Circle admits that this paragraph quotes a portion of the Circle

Agreement.

      207.   Admitted.

      208.   Circle admits the allegations in the first sentence of this paragraph.

Circle denies the allegations in the second sentence of this paragraph, except Circle

admits that the Circle Agreement sets forth circumstances in which FT could

potentially review and approve portions of particular disclosures.




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      209.   Circle denies the allegations in this paragraph, except it admits that

(i) on August 4, 2021, Circle sent FT a letter advising FT that Topco’s S-4 contained

a disclosure relating to FT, and providing FT with the relevant language, and the

Form S-4 was subsequently filed with the SEC on August 6, 2021; and (ii) Circle

admits that FT responded to Circle’s August 4 letter on August 5, 2021, and that FT’s

letter made various false allegations about supposed inaccuracies and omissions.

      210.   Admitted.

      211.   Denied.

      212.   Denied.

      213.   Denied.

      214.   Denied.

      215.   Denied.

      216.   Circle denies the allegations in this paragraph, except it admits that on

October 4, 2021, Amendment Number 1 to Form S-4 was filed with the SEC for Topco,

and Circle participated in the filing.

      217.   Circle denies the allegations in this paragraph, except it admits that on

December 23, 2021, Amendment Number 2 to Form S-4 was filed with the SEC for

Topco, and Circle participated in the filing.

      218.   Circle denies the allegations in this paragraph, except it admits that on

May 6, 2022, Amendment Number 3 to Form S-4 was filed with the SEC for Topco,

and Circle participated in the filing.




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      219.   Circle denies the allegations in this paragraph, except it admits that on

July 11, 2022, Amendment Number 4 to Form S-4 was filed with the SEC for Topco,

and Circle participated in the filing.

      220.   Circle denies the allegations in this paragraph, except it admits that on

August 30, 2022, Amendment Number 5 to Form S-4 was filed with the SEC for

Topco, and Circle participated in the filing.

      221.   Circle denies the allegations in this paragraph, except it admits that on

October 20, 2022, Amendment Number 6 to Form S-4 was filed with the SEC for

Topco, and Circle participated in the filing.

      222.   Circle denies the allegations in this paragraph, except it admits that on

November 14, 2022, Amendment Number 7 to Form S-4 was filed with the SEC for

Topco, and Circle participated in the filing.

      223.   Denied.

      224.   Circle denies the allegations in this paragraph, except Circle admits that

it did not provide FT a complete copy of Topco’s amended Form S-4s, and

accompanying documents, before those documents were filed with the SEC.

      225.   Denied.

      226.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegation in the first sentence or footnote because the link does not

lead to a live website page. Circle admits that as the 2021 BCA approached its

termination date, Circle and Concord negotiated a new deal memorialized on

February 16, 2022, in the 2022 Transaction Agreement, and that Circle and Concord



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terminated the 2021 BCA on that same date. Circle admits that the 2022 Transaction

Agreement and 2021 Transaction Agreements set forth their respective terms. Circle

denies the remainder of this paragraph.

      227.   Admitted.

      228.   Circle denies the allegations in this paragraph, except Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegations

regarding whether FT first introduced Circle to Concord.

      229.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle (i) admits that its February 17, 2022 press release cited in the

footnote to this paragraph announced the 2022 Transaction Agreement, did not

mention FT, said that the contract set “Circle’s enterprise value at $9 billion,” and

identified various advisors to the parties, including Concord’s “exclusive financial

advisor”; and (ii) Circle admits that it did not send FT the draft 2022 Transaction

Agreement “and other documents before they were publicly filed.”

      230.   Circle denies the allegations in this paragraph, except it admits that on

March 25, 2022, Circle’s Board determined in good faith that Good Reason existed to

terminate the Circle Agreement, and on April 8, 2022, Circle terminated the Circle

Agreement when it sent FT the notice of termination that this paragraph replicates

(“Circle Agreement Termination Notice”).

      231.   Circle denies the allegations in this paragraph, except Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegations

regarding what “FT Partners assumes.”



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      232.   Denied.

      233.   Denied.

      234.   Circle denies the allegations in this paragraph, except Circle admits that

its Board determined in good faith that FT’s actions materially breached FT’s

obligations under the Circle Agreement in a manner causing or likely to cause

material harm to Circle, constituting Good Reason to terminate the Circle

Agreement, and the Circle Agreement Termination Notice so notified FT.

      235.   Circle denies the allegations in this paragraph, except Circle admits that

the 2021 BCA valued Circle at approximately $4.5 billion, and the 2022 Transaction

Agreement valued Circle at approximately $9 billion.

      236.   Denied.

      237.   Denied.

      238.   Denied.

      239.   Denied.

      240.   Circle denies the allegations in this paragraph, except Circle admits that

its Board determined in good faith that “FT Partners has and has had conflicts of

interest materially detrimental to Circle that have not been waived by Circle”

constituting Good Reason to terminate under Section 6 of the Circle Agreement, and

the Circle Agreement Termination Notice so notified FT.

      241.   Denied.

      242.   Denied.

      243.   Denied.



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      244.   Denied.

      245.   Denied.

      246.   Circle denies the allegations in this paragraph, except Circle admits that

its Board determined in good faith that “neither Steven J. McLaughlin nor Randall

Little [was] the lead or co-lead advisors for FT Partners representing FT Partners

and actively involved in any prospective Transaction,” constituting Good Reason to

terminate under Section 6 of the Circle Agreement, and the Circle Agreement

Termination Notice so notified FT.

      247.   Circle denies the allegations in this paragraph, except Circle admits that

(i) the second sentence of this paragraph quotes a portion of the Circle Agreement;

and (ii) FT sent various letters in which it has claimed that Mr. McLaughlin remains

“ready, willing, and able to assist” Circle.

      248.   Denied.

      249.   Denied.

      250.   Denied.

      251.   Denied.

      252.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that (i) this paragraph quotes portions of the Circle

Agreement with emphasis added by the Amended Complaint; and (ii) Circle entered

into and consummated the Series F Fundraising within 12 months of terminating the

Circle Agreement.

      253.   Denied.



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      254.   Denied.

      255.   Circle denies the allegations in this paragraph, except Circle admits that

it did not continue to pay FT quarterly retainers under the Circle Agreement after it

terminated the agreement.

      256.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that it terminated the Circle Agreement on April 8,

2022 and announced the Series F Fundraising on April 12, 2022.

      257.   Admitted that the Series F Fundraising was an approximately $400

million funding round with affiliates of BlackRock, Inc., Fidelity Management and

Research, Marshall Wace LLP, and Fin Capital participating as investors.

      258.   Circle denies the allegations in this paragraph and accompanying

footnote, except (i) Circle admits that the footnote quotes a portion of the Circle

Agreement; and (ii) Circle lacks sufficient knowledge or information to form a belief

about the truth of the allegations in the last sentence of this paragraph.

      259.   Denied.

      260.   Circle denies the allegations in this paragraph, except Circle admits that

the Series F Fundraising raised approximately $400 million and closed on May 9,

2022 and that Circle did not pay FT a “Capital Raise fee ‘simultaneously with, or

prior to, the consummation’” of the Series F Fundraising.

      261.   Circle denies the allegations in this paragraph, except Circle admits that

on August 19, 2022, FT sent Circle an invoice demanding a $28.07 million




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“Transaction Fee” for the Series F Fundraising and demanded that Circle provide a

complete set of documents for the Series F Fundraising.

      262.   Circle denies the allegations in the first sentence of this paragraph,

except Circle admits that on October 10, 2022, Circle sent FT a letter stating that the

Circle Agreement “has been effectively terminated on April 8, 2022 and Circle has no

outstanding financial obligations to FT Partners.” Circle admits the last sentence of

this paragraph.

      263.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

      264.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

      265.   Denied.

      266.   Denied.

      267.   Circle denies the allegations in this paragraph, except Circle admits that

Circle’s Board determined in good faith that Good Reason existed to terminate the

SeedInvest Agreement, and on August 26, 2022, Circle terminated the SeedInvest

Agreement when it sent FT the notice of termination that this paragraph replicates

(“SeedInvest Agreement Termination Notice”).

      268.   Circle denies the allegations in this paragraph, except Circle admits that

the SeedInvest Agreement Termination Notice did not include as a Good Reason to

terminate the SeedInvest Agreement that FT materially breached its obligations

under the Agreement.



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      269.   Denied.

      270.   Denied.

      271.   Denied.

      272.   Circle denies the allegations in this paragraph, except Circle admits that

its Board determined in good faith that “FT Partners has and has had conflicts of

interest materially detrimental to Circle that have not been waived by Circle”

constituting Good Reason to terminate under Section 6 of the SeedInvest Agreement,

and the SeedInvest Agreement Termination Notice so notified FT.

      273.   Denied.

      274.   Circle denies the allegations in this paragraph, except Circle admits the

allegations in the last sentence of this paragraph.

      275.   Denied.

      276.   Denied.

      277.   Denied.

      278.   Circle denies the allegations in this paragraph, except Circle admits that

its Board determined in good faith that “neither [Steven J. McLaughlin] nor Randall

Little [was] the lead or co-lead advisor for FT Partners representing FT Partners and

actively involved in any prospective Transaction” constituting Good Reason to

terminate under Section 6 of the SeedInvest Agreement, and the SeedInvest

Agreement Termination Notice so notified FT.

      279.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits (i) the allegations in the last sentence of the footnote



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accompanying this paragraph; and (ii) that FT had sent a letter in September 2022

claiming that Mr. McLaughlin remains “ready, willing, and able to assist SeedInvest

in any transaction.”

      280.   Circle denies the allegations in this paragraph, except Circle admits that

it sent the SeedInvest Agreement Termination Notice on August 26, 2022, and on

August 19, 2022, FT sent Circle an invoice demanding a “Transaction Fee” for the

Series F Fundraising.

      281.   Denied.

      282.   Denied.

      283.   Denied.

      284.   Denied.

      285.   Denied.

      286.   Circle denies the allegations in this paragraph, except Circle admits that

it did not continue to pay FT quarterly retainers under the SeedInvest Agreement

after it terminated the Agreement.

      287.   Circle denies the allegations in this paragraph, except Circle admits (i)

the allegations in the first sentence in this paragraph; and (ii) that the Asset

Purchase Agreement sets forth the terms of the SeedInvest transaction.

      288.   The allegations in this paragraph that concern the other “Defendants”

are directed at other, now-dismissed parties, and therefore no response is required.

Circle denies the remainder of this paragraph.

      289.   Admitted.



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       290.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the SeedInvest Agreement.

       291.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes portions of the SeedInvest Agreement and StartEngine’s

October 24, 2022, 8-K.

       292.   Circle denies the allegations in this paragraph, except Circle admits that

(i) on November 8, 2022, FT sent Circle an invoice demanding a “Transaction Fee” for

the SeedInvest transaction and demanding “information relevant to determining

Aggregate Consideration”; and (ii) Circle admits that on November 28, 2022, Circle

responded that Circle terminated the SeedInvest Agreement on August 26, 2022 and

that it had “no duty to furnish the information requested in [FT’s] letter.”

       293.   Circle denies the allegations in this paragraph, except Circle admits this

paragraph quotes a portion of the SeedInvest Agreement.

       294.   Circle denies the allegations in this paragraph, except Circle admits

(i) the allegations in the first sentence of this paragraph; and (ii) FT is not entitled to

any fee in connection with the Concord transaction.

       295.   Circle denies the allegations in this paragraph, except (i) Circle lacks

sufficient knowledge or information to form a belief about the truth of the allegation

concerning why FT “never sent Circle an invoice”; (ii) Circle admits that FT refused

to negotiate in good faith over its fee and continued to take the bad-faith position that

Circle pay a Company Sale fee for the Concord transaction and proposed “accepting

part or all of it in stock, deferring part of the payment, or restructuring the payment”;



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(iii) FT took the position that if the Concord transaction “constitutes an ‘alternative

transaction,’” then Circle “would still owe FT Partners Transaction Fees upon any

future Company Sale or Capital Raise (of which there could be numerous, even post

the Transaction)”; and (iv) an alternative transaction fee on the Concord transaction

would have been substantially less than the Company Sale fee that FT demanded.

        296.   Denied.

        297.   Circle denies the allegations in this paragraph, except Circle admits this

paragraph describes information published by the Financial Times on December 6,

2022.

        298.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

        299.   Circle lacks sufficient knowledge or information to form a belief about

the truth of the allegations in this paragraph.

        300.   Circle denies the allegations in this paragraph, except Circle admits that

the SeedInvest transaction closed on May 5, 2023.

        301.   Circle denies the allegations in this paragraph and the accompanying

footnote, except Circle admits that (i) on November 17, 2023, FT sent Circle an invoice

dated November 16, 2023 demanding a “Transaction Fee” and expenses for the

SeedInvest transaction and demanding “sufficient documentation for FT Partners to

calculate the Transaction Fee”; and (ii) FT’s invoice said that the claimed “fee

calculation . . . may change subject to evaluation of all relevant information.”




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      302.   Circle denies the allegations in this paragraph and accompanying

footnote, except Circle admits that (i) Circle “has not paid [FT a] Transaction Fee” for

the SeedInvest transaction; and (ii) the footnote to this paragraph quotes a portion of

the SeedInvest Agreement.

      303.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the SeedInvest Agreement.

      304.   Circle denies the allegations in this paragraph, except Circle admits that

a portion of this paragraph quotes the SeedInvest Agreement.

      305.   Circle denies the allegations in this paragraph, except Circle admits that

on August 18, 2023, Circle issued 3.5% of its fully diluted equity to Coinbase, which

Coinbase gave an estimated fair value of $51.1 million according to its 10-Q.

      306.   Denied.

      307.   Circle denies the allegations in this paragraph, except Circle admits that

on November 17, 2023, FT sent Circle an invoice dated November 16, 2023 that

demanded a $3.577 million “Capital Raise” fee and documents related to the

transaction involving Coinbase, which demands Circle has denied.

      308.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

      309.   Circle denies the allegations in this paragraph, except Circle admits that

this paragraph quotes a portion of the Circle Agreement.

      310.   Denied.

      311.   Admitted.



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       312.   Admitted.

       313.   This paragraph does not contain any allegations to which a response is

required. To the extent that a response is required, Circle lacks sufficient knowledge

or information to form a belief about the truth of the allegations in the first sentence

in this paragraph and denies the remainder of this paragraph.

                                    COUNT ONE

       314.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count One. To the extent that Circle is required to answer this paragraph, Circle

repeats its answers to paragraphs 1 through 313 as though fully set forth in this

answer to paragraph 314.

       315.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count One. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

                                    COUNT TWO

       316.   Circle repeats its answers to paragraphs 1 through 313 as though fully

set forth in this answer to paragraph 316.

       317.   Admitted, subject to Circle’s valid termination of the contract.

       318.   Denied.

       319.   Denied.

       320.   Denied.

       321.   Denied.

       322.   Denied.

       323.   Denied.

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                                  COUNT THREE

       324.   Circle repeats its answers to paragraphs 1 through 313 as though fully

set forth in this answer to paragraph 324.

       325.   Admitted, subject to Circle’s valid termination of the SeedInvest

Agreement and that Circle denies that the other, now-dismissed defendants, were

parties to the SeedInvest Agreement.

       326.   Denied.

       327.   The allegations in this paragraph that concern the other “Defendants,”

are directed at other, now-dismissed, parties, and therefore no response is required.

Circle denies the remainder of this paragraph.

       328.   The allegations in this paragraph that concern the other “Defendants,”

are directed at other, now-dismissed, parties, and therefore no response is required.

Circle denies the remainder of this paragraph.

                                   COUNT FOUR

       329.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, Circle

repeats its answers to paragraphs 1 through 313 as though fully set forth in this

answer to paragraph 329.

       330.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       331.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, Circle

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lacks sufficient knowledge or information to form a belief about the truth of the

allegation on why FT “never sent an invoice for a” fee for the Concord transaction and

denies the remainder of this paragraph.

       332.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       333.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       334.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Four. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

                                   COUNT FIVE

       335.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer, Circle repeats its answers

to paragraphs 1 through 313 as though fully set forth in this answer to paragraph

335.

       336.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.



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      337.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      338.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      339.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      340.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Five. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

                                    COUNT SIX

      341.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer, Circle repeats its answers
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to paragraphs 1 through 313 as though fully set forth in this answer to paragraph

341.

       342.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       343.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       344.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       345.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, Circle

denies the allegations in this paragraph, except Circle admits that FT has demanded

fees it is not owed under the Circle Agreement and Circle has not paid those amounts.

       346.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, it denies

all allegations.

       347.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Six. To the extent that Circle is required to answer this paragraph, it denies

all allegations.




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                                 COUNT SEVEN

      348.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer, Circle repeats its

answers to paragraphs 1 through 313 as though fully set forth in this answer to

paragraph 348.

      349.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      350.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      351.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      352.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at
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other, now-dismissed, parties, and therefore no response is required, and denies the

remainder of this paragraph, except Circle admits that it did not pay FT for “advisory

services” after Circle terminated the SeedInvest Agreement.

      353.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties, and therefore no response is required, and Circle

denies the remainder of this paragraph.

      354.   Circle is not obligated to answer this paragraph, as the Court dismissed

Count Seven. To the extent that Circle is required to answer this paragraph, the

allegations in this paragraph that concern the other “Defendants,” are directed at

other, now-dismissed, parties and therefore no response is required, and Circle denies

the remainder of this paragraph.

                              PRAYER FOR RELIEF

      Paragraphs (a) through (r) following the Prayer for Relief each contain a

request for relief to which no response is required. To the extent that a response is

required, Circle denies that FT is entitled to any relief from Circle in connection with

the Amended Complaint.

                    AFFIRMATIVE AND OTHER DEFENSES

      Circle states the following defenses to FT’s claims based on the information

available to Circle at this time. Circle reserves the right to amend its Answer to add

additional defenses not presented below, including those defenses revealed during



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discovery. By raising the defenses below, Circle does not assume any burden of proof

that the applicable law may place on other parties.




      1.     Circle incorporates its answers to paragraphs 1–354 above.

      2.     FT’s claims are barred, in whole or in part, because FT fails to state a

claim upon which relief may be granted.


               (FT’s Material Breaches of the Circle Agreement)

      3.     FT’s claims are barred, in whole or in in part, because it has committed

a number of uncured, material breaches of the Circle Agreement.

      4.     Among other things, FT materially breached the Circle Agreement by

refusing to negotiate in good faith the appropriate compensation for FT for the

Concord transaction, discussing its fee demand with third parties without Circle’s

authorization, and breaching the implied covenant of good faith and fair dealing such

as by depriving Circle of the benefits of the Agreements, frustrating the parties’

intent, frustrating the Agreements’ purposes, and acting dishonestly in the advice

and services that it provided to Circle.

      5.     FT’s material breaches injured Circle and defeated the object of the

parties in making the Circle Agreement.

      6.     FT’s uncured, material breaches excuse Circle from any performance

since the time of the first material breach.




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                                        (Payment)

       7.     FT’s claims are barred, in whole or in part, because Circle has already

paid FT all fees, retainer amounts, and expenses that FT was due under the

Agreements.

       8.     Indeed, FT admits that Circle has already paid FT its fees for the 2020

Loan and Convertible Note Financing, and FT implicitly admits that Circle paid FT

quarterly retainers before terminating the Agreements. See, e.g., Am. Compl. ¶¶ 15,

109 & n.5, 176, 193, 255, 286.


                                     (Unclean hands)

       9.     FT’s claims are barred, in whole or in part, by the doctrines of unclean

hands.

       10.    As detailed in the Second Defense above and Seventh Defense below, FT

has committed immoral and unconscionable conduct that has injured Circle.

       11.    FT’s immoral, unconscionable conduct leaves it with unclean hands.

       12.    FT’s unclean hands prevent it from obtaining any equitable or

declaratory relief in this action.


                    (Election to treat contract as terminated)

       13.    FT’s claims are barred, in whole or in part, by FT’s election to treat

Circle’s alleged anticipatory repudiation as an anticipatory breach.

       14.    Faced with an alleged anticipatory repudiation, FT had “two mutually

exclusive options”: either “elect to treat the repudiation as an anticipatory breach and


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seek damages for breach of contract, thereby terminating the contractual relation

between the parties” or “continue to treat the contract as valid and await the

designated time for performance before bringing suit.” Lucente v. Int’l Bus. Machs.

Corp., 310 F.3d 243, 258 (2d Cir. 2002) (applying New York law).

      15.       Circle has terminated the Agreements and has declared, and continues

to declare, its intention to not pay FT under those Agreements any of FT’s demanded

fees, retainer amounts, or expenses after those terminations, or perform under any

other provision of the Agreements that did not survive termination.

      16.       FT elected to treat Circle’s termination of the Agreements as

anticipatory breaches by suing Circle for breach of contract and damages that

allegedly arise from Circle’s “purported” termination of the contracts and refusal to

pay fees for transactions after the terminations, Am. Compl. ¶¶ 293, 319(a), (e),

327(a), and it alleged in the Amended Complaint that Circle’s terminations constitute

“an anticipatory breach” of each contract, id. ¶¶ 293, 319(e).

      17.       FT’s election to treat Circle’s terminations of the Agreements as

anticipatory breaches, terminates any alleged continuing contractual relationship

between the parties.

      18.       FT, therefore, may not seek any relief inconsistent with FT’s choice to

terminate the contract, or beyond what is available to FT given its choice to terminate

the contract.




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                                       (Agency)

      19.    FT’s claims are barred, in whole or in part, because FT acted as Circle’s

agent, and Circle was thus free to terminate its relationship with FT.

      20.    The Agreements, along with the services that FT provided Circle,

created an agency relationship between FT and Circle. The purpose of the

Agreements was to retain FT as Circle’s exclusive financial advisor to act on Circle’s

behalf as its agent. FT put itself in a position of trust and confidence by agreeing to

be Circle’s “exclusive financial and strategic advisor” under the Agreements who

would provide Circle investment banking “financial advice and assistance,” including

to solicit, negotiate, structure, and advise on potential Transactions (as defined by

the Agreements) on Circle’s behalf. Likewise, FT put itself in a fiduciary position once

FT undertook to act as Circle’s financial advisor on potential Transactions, or

alternative transactions like the Concord transaction, and to help solicit, negotiate,

structure, and advise on such transactions on Circle’s behalf. Circle’s management

and Board had a right to rely on these services and advice.

      21.    While the Agreements created a position of trust and confidence for FT,

they also gave Circle the unfettered discretion to enter any Transaction or

transaction. And the parties’ agreement that FT would advise on the Concord

transaction likewise gave Circle final authority on whether to enter such a

transaction and, if so, on what terms. FT was therefore always meant to be under

Circle’s direction and control and acting on its behalf.




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      22.    Although FT added a provision to the Agreements purporting to

disclaim “a fiduciary or agency relationship,” this purported disclaimer of a fiduciary

and agency relationship is inoperative because of the agency and fiduciary

relationship that the Agreements and the parties’ conduct created.

      23.    Because FT was Circle’s agent, Circle had the power to revoke FT’s

authority at any moment. FT’s claims are thus barred to the extent that they seek to

impose any ongoing relationship between FT and Circle despite Circle’s termination

of each Agreement.


                                 (Faithless servant)

      24.    Circle incorporates paragraphs 20–22 from the Sixth Defense.

      25.    FT’s claims are barred, in whole or in part, by the faithless servant

doctrine.

      26.    As both Circle’s agent and exclusive financial advisor, FT owed Circle

fiduciary duties, including the duties of loyalty and good faith. FT breached those

duties by, among other things:

             a.      Downplaying the risks that FT’s demanded fee presented to

                     Circle and the Concord transaction;

             b.      Attempting to use Circle’s interest in consummating the Concord

                     transaction as leverage to force Circle to pay an excessive fee that

                     Circle did not owe;




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             c.      Adopting an unreasonable and bad-faith interpretation of the

                     parties’ agreement in an effort to force Circle to agree to an

                     excessive fee for FT’s services;

             d.      Allowing its self-interest to supersede the best interests of its

                     client, Circle; and

             e.      Representing the position of Concord and other third parties on

                     FT’s demanded fee either dishonestly or with an insufficiently

                     thorough and disinterested investigation.

      27.    FT’s misconduct and unfaithfulness, including the above examples, also

substantially violated the Agreements.


                  (Unenforceable or Void as against Public Policy)

      28.    FT’s claims are barred, in whole or in part, because portions of the

Agreements are unenforceable or illegal.

      29.    Sections 7(c) and 9 in the Agreements are void against public policy to

the extent that they require Circle to violate state or federal law. Section 7(c) of the

Circle Agreement states that if Circle “is required by law to make any filing with any

government authority . . . which mentions FT Partners or the advice rendered by FT

Partners hereunder, such disclosure shall be in a form and substance satisfactory to

FT Partners and its counsel, in their sole discretion.” The SeedInvest Agreement has

an identical provision. Section 9 of each Agreement provides that “any press release

it may issue (jointly with an acquirer or solely) announcing a Transaction will contain

a reference to FT Partners’ role as exclusive financial and strategic advisor to the


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Company and its board of directors in connection with such Transaction.” To the

extent that either provision would require Circle to make a statement that violates

any applicable law, it is illegal and void against public policy.


                          (Failure to Mitigate Damages)

      30.    FT’s claims are barred, in whole or in part, because it has failed to

mitigate its damages.




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April 28, 2025                    Respectfully submitted,

                                  /s/Adam L. Hoeflich
                                  Adam L. Hoeflich (Pro Hac Vice)
                                  Abby M. Mollen (Pro Hac Vice)
                                  Joshua P. Ackerman (Pro Hac Vice)
                                  BARTLIT BECK LLP
                                  54 W. Hubbard Street, Suite 300
                                  Chicago, IL 60654
                                  (312) 494-4400
                                  adam.hoeflich@bartlitbeck.com
                                  abby.mollen@bartlitbeck.com
                                  joshua.ackerman@bartlitbeck.com

                                  Eric F. Dement (Pro Hac Vice)
                                  BARTLIT BECK LLP
                                  1801 Wewatta Street, Suite 1200
                                  Denver, CO 80202
                                  (303) 592-3152
                                  eric.dement@bartlitbeck.com

                                  Kevin R. Puvalowski
                                  Christina Karam
                                  PETRILLO KLEIN & BOXER LLP
                                  655 Third Avenue, 22nd Floor
                                  New York, NY 10017
                                  (212) 370-0330
                                  kpuvalowski@pkbllp.com
                                  ckaram@pkbllp.com

                                  Counsel for Circle Internet Financial Limited




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                           CERTIFICATE OF SERVICE

      The undersigned attorney certifies that on this day, April 28, 2025, he has filed

the foregoing document via the Court’s CM/ECF system, which will send notification

of the filing to all counsel of record in this action registered with the Court’s CM/ECF

system.



                                        /s/Adam L. Hoeflich
                                        Adam L. Hoeflich
